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                            IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA
                                     COLUMBUS DIVISION

      WILHEN HILL BARRIENTOS, et al.,

             Plaintiffs,
                                v.

      CORECIVIC, INC.,                                 Civil Action No. 4:18-cv-00070-CDL

              Defendant.                               (REDACTED)


                    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                         MOTION FOR CLASS CERTIFICATION*




*This is a redacted, publicly available version of the restricted document filed at ECF No. 213-1.
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                                        INTRODUCTION

       This action arises from Defendant CoreCivic, Inc.’s (hereinafter “CoreCivic”) exploitation

of the labor of people in U.S. Immigration and Customs Enforcement (ICE) custody who are

detained at Steward Detention Center (SDC). Plaintiffs allege, on behalf of themselves and two

putative classes, that CoreCivic forced and attempted to force them and the putative class members

to work for between $1 and $4 per day by depriving them of basic necessities and threatening them

with physical restraint, serious harm, and abuse of legal process if they refused and that CoreCivic

knowingly benefits from a venture that does the same. CoreCivic depends on this captive

workforce to maintain SDC and carry out essential operations such as food service and sanitation,

and CoreCivic has profited enormously from relying on detained workers as opposed to employees

whom CoreCivic would have had to pay at least minimum wage. Plaintiffs assert class claims for

violations of the Trafficking Victims Protection Act (TVPA), 18 U.S.C. §§ 1589(a), 1589(b),

1594(a), 1595, and unjust enrichment under Georgia law, and seek certification of two classes,

(hereinafter “the Proposed Classes”):

    1. All civil immigration detainees who performed work for CoreCivic at Stewart in the
       “Volunteer Work Program” starting ten years prior1 to the date the original complaint was
       filed (April 17, 2018) until the date of final judgment in this matter (the “Forced Labor
       Class”).
    2. All civil immigration detainees who performed work for CoreCivic at Stewart in the
       “Volunteer Work Program” starting four years prior to the date the original complaint was
       filed (April 17, 2018) until the date of final judgment in this matter (the “Unjust Enrichment
       Class”).




1
  The Court previously held that CoreCivic cannot be liable under the TVPA for “knowingly
benefitting financially” for conduct occurring prior to December 23, 2008, the date relevant
amendments to the TVPA were enacted. Barrientos v. CoreCivic, Inc., 332 F. Supp. 3d 1305, 1312
(M.D. Ga. 2018), aff'd, 951 F.3d 1269 (11th Cir. 2020). The Court also held that CoreCivic’s
liability as a perpetrator under the TVPA is limited only by the statute of limitations, which is ten
years. Id.
                                                     1
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       For the reasons set forth below, Plaintiffs move for certification of the Proposed Classes.

Plaintiffs also respectfully request that the Court designate them as class representatives for both

classes, appoint undersigned counsel as class counsel, and order that notice of this action be

provided to the classes.

                                       STATEMENT OF FACTS

I.     Overview of CoreCivic, SDC, and the Work Program

       A. CoreCivic’s Operation of SDC

       CoreCivic owns and operates prisons, jails, detention centers, and residential re-entry

centers and provides “government real estate solutions.” See generally Ex. 1 at 10. In 2006,

CoreCivic, then known as Corrections Corporation of America (CCA), contracted with Stewart

County, Georgia, to own and operate SDC2 pursuant to an Inter-Governmental Service Agreement

(IGSA) between Stewart County and ICE.3 Ex. 2; Ex. 3 at 2-7. Under the SDC IGSA, CoreCivic

is paid a fixed per diem rate for each person detained at SDC. The per diem rate, also referred to

as the bed day rate, does not depend on the amount of money CoreCivic actually spends to operate

the facility. See Ex. 3 at 3; Ex. 4 at 33:11-14. In other words, to increase its profit from SDC,

CoreCivic must decrease expenses since its revenue from ICE is fixed. Ex. 4 at 59:10-19; Ex. 5 at

108:20-109:18. In 2016, the IGSA was modified to guarantee CoreCivic payment for at least 1,600

beds, whether or not that many people were actually detained at SDC. Ex. 3 at 20-21; Ex. 4 at

38:11-22.

       CoreCivic operates SDC at a 28 percent profit margin. Ex. 5 at 74:20-75:6. SDC’s


2
  SDC has a design capacity of 1,752 detained people and has confined as many as 2,000 people
at a time during the class periods. Ex. 6 at 30:6-11; Ex. 7 at 61:9-12.
3
  ICE pays CoreCivic, via payment that passes through Stewart County, to detain people in civil
immigration detention. Ex. 4 at 29:16-30:4. Ms. Brazier’s last name changed from Norman to
Brazier during the class periods, thus some evidence cited will refer to her as Bethany Norman. Id.
at 8:17-19.
                                                     2
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operating budget is set and overseen by CoreCivic’s Facility Support Center (FSC), or

headquarters. Ex. 4 at 61:13-17, 65:16-18, 67:11-17, 75:22-76:7, 91:22-25.




                     . See Ex. 8 at 5, 30. CoreCivic’s annual corporate revenue has increased from

$1.5 billion in 2008 to nearly $2 billion in 2020. Ex. 1 at 72, 205.

       Under the IGSA, CoreCivic is required to comply with ICE’s national detention standards.4

See Ex. 3 at 2, 8, 25. In addition to the ICE detention standards, CoreCivic has its own set of

policies that apply equally to all staff and detained people at SDC. See Ex. 5 at 257:18-258:5,

268:7-9; Ex. 9 at 359:14-21.

                                                                                See Ex. 10 at 55:14-

56:9; Ex. 11. The CoreCivic policies incorporate ICE detention standards’ language and set forth

additional requirements where the ICE detention standards are silent or leave room for CoreCivic’s

discretion. See Ex. 5 at 257:18-258:5; Ex. 9 at 359:14-361:2; Ex. 10 at 62:18-63:24.

       SDC operates in virtually every way as a criminal punishment prison, from the physical

plant to the facility schedule to the restrictions on movement within the facility to the staff chain

of command. See Ex. 14 ¶ 24; Ex. 15 ¶¶ 52-53; Ex. 16 ¶¶ 6-19. SDC is supervised by the Warden,

who reports directly to a CoreCivic Managing Director in the FSC. See Ex. 5 at 54:3-18.

                                             . See Ex. 17 at 2.

                                                                   . See id. at 3. Unit Managers play

a critical role in                                                                                  ,



4
 There have been four iterations of those standards in effect at SDC during the class periods; the
currently operative Performance-Based National Detention Standards (hereinafter “PBNDS”)
were revised in 2016. Ex. 12 at 2-3, 11-12, 19-21; Ex. 13.
                                                      3
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moving people who refuse to work to a different housing unit,

                See, e.g., Ex. 18 at 2; Ex. 19 at 2-3; Ex. 20 at 55:24-56:8; Ex. 21 at 190:9-11.

                                                             Ex. 17 at 4. Throughout the class periods,

individuals in these positions of power implemented policies and practices that compel work by

means or threats of serious harm, infra Facts § II, and means or threats of physical restraint and

abuse of legal process, infra Facts § III. See Ex. 22.

           CoreCivic contracts with a third-party vendor, Trinity Services Group5 (hereinafter

“Trinity”), to provide food service. Ex. 23; Ex. 24.




     . See Ex. 25at 2; Ex. 26 at 232:20-233:7, 244:6-21.

             . Ex. 26 at 64:10-68:20.

           At times, CoreCivic has also contracted out phone services. From January 1, 2009, to June

29, 2017, CoreCivic contracted with Securus Technologies to provide phone services at SDC. See

Ex. 27; Ex. 28.

                                                                                                   . Ex.

27 at 56-57; see also Ex. 29 at 2. The FSC determined the commission rate. Ex. 4 at 172:15-173:3.

           B. CoreCivic’s Policies and Procedures Governing the Work Program at SDC

           All iterations of the ICE detention standards in effect at SDC since December 2008 have

required CoreCivic to offer a voluntary work program (hereinafter “Work Program”) at SDC. See,




5
                                                                                                   . Ex.
23 at 2.                                                                      . Ex. 26 at 38:24-39:8.
                                                         4
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e.g., Ex. 12 at 13-18, 22-27.6 Among other things, ICE’s detention standards require CoreCivic to

pay detained workers at least $1.00 per day, limit detained workers’ schedules to 8 hours daily

and 40 hours weekly, prohibit CoreCivic from scheduling detained workers for more than one

work detail per day, and ban CoreCivic from assigning high-custody detained workers to posts

outside their housing units. See id.; Ex. 13 at 67-68.

       The ICE detention standards leave much to CoreCivic’s discretion in terms of Work

Program operations and treatment of detained workers, including:

       •   whether to pay detained workers more than $1 per day,
       •   how many unexcused absences justify removal from the Work Program,
       •   what constitutes an unexcused absence,
       •   how many detained workers to enlist,
       •   which jobs to have detained workers perform,
       •   whether to offer “incentives” to encourage people to work,
       •   detained workers’ schedules, and
       •   when a detained worker commits an offense that merits discipline.

Ex. 5 at 204:17-23, 212:14-214:25. Various written CoreCivic policies set forth additional

requirements for the Work Program or impact its operation.7 See, e.g., Ex. 32; Ex. 33; Ex. 34; Ex.

35; Ex. 36; Ex. 37; Ex. 38. All written policies relating to the Work Program apply to every

detained worker, regardless of which job they perform. Ex. 39 at 36:13-19; Ex. 40 at 20:10-12.

       C. CoreCivic’s Scheme to Use Detained Workers to Maximize Its Profits and
          Perform Essential Tasks

       CoreCivic depends on detained workers to perform essential functions at SDC.




6
  Prior to December 2008, CoreCivic was permitted but not required to operate a Work Program
at SDC, and it chose to do so. Ex. 12 at 4-10; see also, e.g., Ex. 30 at 44 (indicating there was a
Work Program at SDC); Ex. 31 at 2-3 (             ).
7
  CoreCivic revised the SDC policies during the class periods. For ease and consistency, Plaintiffs
cite the most recent version of each policy herein and note that the cited portions are not
substantially different in earlier versions of the policies.
                                                         5
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                 . See, e.g., Ex. 35 at 5; Ex. 41 at 2; Ex. 5 at 225:6-11.



     . Ex. 3 at 33. Throughout the class periods, SDC has been plagued by understaffing. See Ex.

15 ¶¶ 109-18. Thus, CoreCivic effectively relies on the Work Program to double its work force at

SDC. See Ex. 7 at 113:25-114:5 (former Warden Charlie Peterson testifying that CoreCivic would

have had to hire more employees if there was no Work Program).



                . See, e.g., Ex. 35 at 5; Ex. 41 at 5. Trinity employs only ten staff at SDC to

“supervise” the detained workers in food service. Ex. 428 at 292:9-19, 295:8-10. The price per

meal rate that Trinity charges CoreCivic does not incorporate the cost of non-supervisory kitchen

workers because it assumes in its calculation that CoreCivic will provide the kitchen workers, at

no cost to Trinity. Ex. 26 at 243:21-245:16. Under the contract, CoreCivic is required to provide

          detained workers to the kitchen



                                                                                            Ex. 5

at 245:10-17; Ex. 23 at 9, 12-13, 24; Ex. 24 at 10-11; Ex. 25 at 2; Ex. 43 at 3.




       Elsewhere in the facility, the other half of the detained work force staffs the commissary,

performs the barbering for the detained population, launders clothing and linens,

                        , and performs maintenance tasks, such as plumbing, electrical,


8
 Ms. Crawford’s last name changed from Lyles to Crawford during the class periods, thus some
evidence cited will refer to her as Marquita Lyles. Ex. 42 at 287:2-9.
                                                       6
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work. See, e.g., Ex. 20 at 93:19-94:6; Ex. 40 at 198:8-16; Ex. 44 at 90:3-95:4; Ex. 45 at 2; Ex. 46

at 199:5-19; Ex. 47 at 3.

     . See, e.g., Ex. 46 at 203:19-205:9; Ex. 48 at 2.

        CoreCivic is required by contract to perform the very duties it assigns to detained workers.

See Ex. 13 at 6, 8-9, 17-18, 20-21, 37-60, 62-63, 65 (operative ICE detention standards,

incorporated into IGSA, requiring provision of food service, cleaning, maintenance, laundry, and

barbering). Throughout the class periods, CoreCivic got by with only one part-time CoreCivic-

employed janitor position,

        , and four maintenance workers                                           . See Ex. 5 at 125:23-

127:2, 128:10-15, 133:12-19, 144:6-17. This tiny number of paid CoreCivic employees whose jobs

are dedicated to cleaning and maintaining                                                demonstrates

CoreCivic’s utter dependence on detained workers. See Ex. 49 at 3. Notably, CoreCivic relies on

detained workers to clean                                at SDC to prepare for             inspections.

See, e.g., Ex. 50 at 2; Ex. 51 at 2; Ex. 52 at 2; Ex. 53 ¶ 27.

        Without the virtually free labor of the Work Program, CoreCivic staff would have to



                                             or leave the tasks undone, which could ultimately cause

CoreCivic to lose the SDC contract. See, e.g., Ex. 54 at 2; Ex. 26 at 161:12-21; Ex. 44 at 95:5-

96:12; Ex. 5 at 249:5-10.




Ex. 32 at 4, 6, 12, 14-15, 19, 25-26. CoreCivic is so dependent on detained workers that it has

                                                       7
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ignored ICE’s requirement to suspend food service and other Work Program positions that do not

afford social distancing during the COVID-19 pandemic. See Ex. 5 at 232:17-19, 234:8-14,

235:15-236:4; Ex. 55 at 20.

       The financial benefit CoreCivic reaps from forcing detained people to work is clear.

CoreCivic pays most detained workers at SDC between $1 and $4 per day, depending on the job.

Ex. 5 at 216:4-8; Ex. 35 at 5; Ex. 41 at 5. This payment is deposited directly into detained workers’

accounts at SDC.



                                                                      See Ex. 4 at 145:12-17.

       An analysis of available data from CoreCivic estimates that in the relevant time period,

Forced Labor Class members provided 5,532,204 hours of labor to CoreCivic, at an estimated

hourly pay of $0.41, and Unjust Enrichment class members provided the company 3,264,180 hours

of labor at an estimated hourly pay of $0.44. A class-wide analysis of the jobs completed by class

members and a comparison with applicable minimum wage and benefits requirements under

federal law (the amounts that CoreCivic would have been required to expend if a civilian

workforce completed the essential tasks performed by detained workers) estimates that the value

to CoreCivic of the labor performed by purported class members, less the amounts actually paid

to them, totals between $43.9 million and $58.9 million for the Forced Labor Class and between

$28.1 million and $40.0 million for the Unjust Enrichment Class. Ex. 56 ¶¶ 12, 73-86.

       D. CoreCivic’s Recruitment Scheme and Disregard of ICE Requirements for the
          Work Program

       Detained worker staffing shortages, particularly in the kitchen, have been common at SDC

throughout the class period. Kitchen worker shortages result in meals being served late,

                                  , detained workers working double shifts, and CoreCivic officers


                                                     8
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being pulled from their regular posts to assist with food service. See, e.g., Ex. 42 at 335:21-336:5

(Trinity Food Service Director (“FSD”) testifying that she has reported kitchen worker shortages

to CoreCivic in real time with the goal of getting more detained workers and preventing delays in

meal service); Ex. 57 at 2

                                                             ); Ex. 58 at 2; Ex. 59 at 2; Ex. 20 at

103:25-104:9; Ex. 40 at 52:8-13, 57:12-14, 71:20-72:21; Ex. 21 at 132:10-15; Ex. 60 ¶ 19.

       Rather than hiring more paid employees,

                                                                                               . See,

e.g., Ex. 61 at 119:13-21 (

                                  s); Ex. 7 at 158:4-6 (testifying that he did not ask CoreCivic to

hire more paid employees); Ex. 6 at 137:5-12 (



                                              ); Ex. 62 at 2 (

                               ); Ex. 63 at 2; Ex. 64 at 3; Ex. 65 at 2-3; Ex. 66 at 2. CoreCivic has

also resorted to increasing the pool of available workers to those who would otherwise not be

eligible for specific jobs. For example,        , CoreCivic sought and received an ICE waiver of

the prohibition on allowing high-custody detained workers to work in the kitchen. Ex. 67 at 2-5;

Ex. 68 at 54:20-55:3, 56:2-6; Ex. 44 at 100:23-101:2, 101:16-25, 102:17-20.

       To maintain a steady supply of detained workers, CoreCivic has a policy of offering non-

monetary compensation, which CoreCivic refers to as “incentives.” CoreCivic routinely offers

detained workers phone cards with an assigned cash value in lieu of or in addition to wages. See,

e.g., Ex. 6 at 128:14-24; Ex. 69 at 2. Phone cards—particularly valuable because they are “worth

more than a person could make in a day”—have been used to “incentivize” work

                                                                              . Ex. 21 at 133:9-14,

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133:25-134:4; see also, e.g., Ex. 70 at 2; Ex. 44 at 110:5-13,140:17-141:3; Ex. 71 at 2.9 CoreCivic

has at times offered a variety of other “incentives,” including private and safe housing, extra food,

                       , and access to more televisions and video games. See, e.g., Ex. 72 at 2-4;

Ex. 74 at 2; Ex. 53 ¶ 12-13; Ex. 75 ¶¶ 10, 19-20; Ex. 44 at 110:5-13. CoreCivic has also maintained

a practice of housing Work Program participants in designated units that offer more privacy than

other units with open dorms. See Ex. 76 at 2; Ex. 53 ¶¶ 10-11, 13-14. Kitchen workers have also

been rewarded with additional food or double portions. Ex. 21 at 135:23-136:15; Ex. 5 at 251:24-

252:14; Ex. 53 ¶ 7; Ex. 42 at 360:21-24.

       While constantly striving to maximize the number of detained workers, CoreCivic

routinely violates ICE detention standards relating to the Work Program; for example, when it:

       1. Pays detained workers solely with phone cards and when it provides food to detained
          workers as a reward. Ex. 15 ¶ 83; Ex. 13 at 38, 68 (requiring that “[f]ood shall never
          be used for reward or punishment” and that detained workers “shall receive monetary
          compensation”);
       2. Fails to pay detained workers on time, in violation of the ICE detention standards. See,
          e.g., Ex. 77 at 2-3; Ex. 78 at 2; Ex. 79 at 2; Ex. 21 at 127:14-17; Ex. 53 ¶ 29; Ex. 75 ¶
          28; Ex. 15 ¶¶ 80, 82, 84.
       3. Relies on detained workers to work more than one shift per day and more than five
          days per week—both practices that violate ICE detention standards. See Ex. 13 at 68;
          see also, e.g., Ex. 53 ¶ 28; Ex. 60 ¶¶ 19-22; Ex. 75 ¶ 27; Ex. 80 at 2-3; Ex. 81 at 2; Ex.
          82 at 2; Ex. 83 at 2; Ex. 20 at 195:23-196:6; Ex. 84 at 3-4; Ex. 85 at 3; Ex. 5 at 175:11-
          17; Ex. 4 at 143:21-144:8.
       4. “[R]eport[s] individuals awaiting sick call as refusing to work,” Ex. 15 ¶¶ 60, 68;
       5. Does not comply with restrictions on who can work in which Work Program positions
          based on classification level, Ex. 15 ¶¶ 88-92; Ex. 86 at 2-3; Ex. 87 at 2;
       6. Flouts ICE’s requirement that food service and other Work Program positions that do
          not afford social distancing be suspended during the COVID-19 pandemic, Ex. 15 ¶¶
          93-97; Ex. 5 at 232:17-19, 234:8-14, 235:5-236:4; and,
       7. “[M]isuses the discipline process to punish or threaten to punish individuals who refuse
          to work.” Ex. 15 ¶ 60.




9
  CoreCivic officers often use the term “volunteer” to refer to detained people who work on their
scheduled day off. See Ex. 20 at 192:10-193:15.
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II.      CoreCivic’s Policies and Practices Compel Participation in the Work Program by
         Means or Threats of Serious Harm

         A. CoreCivic Deprives Detained People of Basic Necessities

         CoreCivic compels and attempts to compel detained people to join the Work Program by

systematically depriving them of basic necessities, including food, hygiene items, clothing, and

phone access. Detained people, who by reason of their detention must rely on CoreCivic to fulfill

their basic needs, have little choice but to find independent ways to supplement their diets, keep

clean, and remain in touch with loved ones. The commissary, also operated by CoreCivic, offers a

range of items, including undershirts, socks, better quality toiletries than are issued by the facility,

and a variety of food products. CoreCivic policy requires that items sold in the SDC commissary

be sold at a profit margin as high as thirty percent. Ex. 15 ¶ 28; Ex. 88 at 3.



                                                                 10
                                                                      See Ex. 89; Ex. 90; Ex. 91; Ex. 92;

Ex. 93; Ex. 94                                        ).

         For those without access to outside funds, enlisting in the Work Program is the only way

to earn money and purchase basic necessities. SDC staff widely acknowledge that detained people

participate in the Work Program for the purpose of gaining funds to make commissary purchases

or earning phone time. See, e.g., Ex. 39 at 50:8-51:11; Ex. 20 at 161:5-10, 188:13-18, 189:3-5; Ex.

21 at 73:11-20; see also Ex. 53 ¶ 7 (“I signed up to join the Work Program immediately so I could

get extra food and purchase those items at the commissary.”); id. ¶¶ 20, 33; Ex. 60 ¶ 23; Ex. 75 ¶¶

17-19.



10

                                                    Ex. 4 at 215:19-216:9.

                               Id. at 208:17-20, 212:14-213:2.
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        Food. CoreCivic has a policy and practice of serving food that is of poor nutritional value,

of poor quality, and insufficient in amount. Ex. 95 ¶¶ 2, 16-17, 82; see also, e.g., Ex. 75 ¶ 14.

Because detained people cannot freely access alternative food sources, they “are faced with a

choice at every meal: eat nutritionally inadequate, unsafe, and/or unpalatable food, or eat very little

or nothing at all.” Ex. 95 ¶ 2, 82. As a result, detained people at SDC are persistently hungry. Ex.

95 ¶¶ 2, 16, 20-24; see also Ex. 53 ¶¶ 15, 19-20; Ex. 60 ¶ 12; Ex. 14 ¶¶ 74-76, 83; Ex. 75 ¶¶ 12-

13, 16. This widespread hunger compels detained people to work. Ex. 53 ¶20 (“I joined the Work

Program, first and foremost, to prevent hunger.”); Ex. 14 ¶¶ 71, 76; Ex. 75 ¶17.

        CoreCivic’s policy and practice of food deprivation are memorialized in its

                                                               . Ex. 96; Ex. 24; Ex. 97; Ex. 25 at 3-7;

Ex. 95 ¶ 27. The SDC population’s diet is prescribed by rotating menus that CoreCivic approves,

and in fact, helps create. Ex. 26 at 230:1-231:9; Ex. 98 ¶ 17-18. For example, CoreCivic is required

to provide a nutritionally adequate diet that is reviewed at least annually by a qualified nutritionist

or dietitian. See Ex. 13 at 37, 43; Ex. 96 at 5. In practice, a Trinity dietitian conducts cursory yearly

reviews and certifies that the menus meet nutritional guidelines, even though they do not. See Ex.

98 ¶ 27; Ex. 26 at 235:7-20; Ex. 95 ¶ 40-50 (SDC menus exhibit a “deficiency in virtually every

nutrient, with a significant deficiency in fiber”). There is no evidence that any of the entities that

audit the food service program conduct independent reviews to ensure the nutritional adequacy of

the menus; they simply check to see                                                        Ex. 95 ¶75.

Furthermore, all or most of the audits are pre-announced and do not meaningfully assess food

adequacy. Id. ¶¶74-75. This results in nutritionally deficient menus being approved, prepared, and

served year after year.

        In addition to failing to analyze nutritional adequacy, CoreCivic does not meaningfully

oversee or monitor food service operation. Ex. 95 ¶¶70-81.

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                 . Ex. 96 at 25; Ex. 99 at 2.

                                                Ex. 96 at 25.




                                                                            Ex. 95 ¶ 72. Furthermore,

throughout the class period, there is evidence that CoreCivic’s day-to-day monitoring of the food

service operation is not being done well, even based on the inadequate monitoring mechanisms

CoreCivic has in place. See, e.g., Ex. 100 at 5 (

                               ); Ex. 46 at 218:16-18 (testifying that no one was in charge of

reviewing meal monitoring forms); Ex. 95 ¶¶ 70-73.

       Both CoreCivic and Trinity are aware that complaints relating to the quantity and quality

of food are commonplace. Complaints are numerous and remarkably consistent throughout the

class periods, including complaints of expired or spoiled food,

                                                                                      . See, e.g., Ex.

101 at 2; Ex. 102 at 3-6; Ex. 31 at 3; Ex. 103 at 3; Ex. 104 at 2-3, 5; Ex. 105 at 2; Ex. 106 at 2, 6-

7, 9, 12-15, 19-20, 31, 33-34; Ex. 133 at 2-4; Ex. 60 ¶¶ 10-11; Ex. 75 ¶¶ 14-15. Additionally, in

2017, the Department of Homeland Security (DHS) Office of the Inspector General (OIG) noted

unsafe food handling practices at four detention centers, including SDC. Ex. 107 at 6, 12; Ex. 108

at 2, 5-6. The FSD, who has been employed at SDC for almost 13 years, testified that the OIG

finding was incorrect because SDC is not required to track expiration dates, so no corrective action

was taken. Ex. 42 at 495:15-496:7; see Ex. 108 at 2.

                                                . See, e.g., Ex. 31; 103.

       CoreCivic is aware that there is pervasive hunger among the population at SDC. See, e.g.,

                                                      13
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Ex. 109 at 2; Ex. 21 at 235:8-236:15, 236:21-237:9; Ex. 110 at 2, 12-13 (collection of food service

incident reports emailed among FSC personnel). CoreCivic, as matter of policy, marks up the

prices of items sold in the SDC commissary as much as 30 percent,

                                                         . Ex. 88 at 3; Ex. 89; Ex. 90; Ex. 91; Ex. 92;

Ex. 93; Ex. 94. CoreCivic’s failure to provide sufficient, edible food gives rise to the need to satiate

hunger, compelling detained people to enlist in the Work Program to receive food-related

“incentives” and wages with which to buy additional food.

         Hygiene Items and Clothing. CoreCivic has a policy and practice of depriving detained

people of adequate hygiene items and clothing. CoreCivic confiscates detained people’s clothing

and personal belongings upon arrival. Ex. 38 at 6. CoreCivic provides detained people with basic

hygiene items at intake, including soap, shampoo, toothpaste, and a toothbrush. Ex. 111 at 15; Ex.

5 at 363:20-364:18. The toiletries provided are “travel-sized, only large enough to last several

days, and the products themselves are inferior; that is, the soap, shampoo, and toothpaste do not

work well so that it requires more of the product to achieve the intended result.” Ex. 15 ¶ 136; see

also Ex. 53 ¶ 5; Ex. 60 ¶ 4; Ex. 75 ¶ 4. CoreCivic is required by ICE standards to replenish personal

hygiene items on an as-needed basis. Ex. 13 at 63. Although CoreCivic claims that items are

available on demand, evidence demonstrates that CoreCivic, as a practice, fails to replenish

personal hygiene items as required, to minimize costs. See Ex. 6 at 169:22-170:4; Ex. 112 at 2



      ); Ex. 113 at 2; Ex. 114 at 2; Ex. 115 at 3; Ex. 60 ¶ 6.

         ICE standards also obligate CoreCivic to issue “clean, laundered, indoor/outdoor

temperature-appropriate, size appropriate, presentable clothing,” including two uniform shirts, two

uniform pants, two pairs of socks, two pairs of underwear, and one pair of footwear. Ex. 13 at 62-

63.

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                Ex. 111 at 13-14. CoreCivic issues used, thread-bare clothing, including, as recently

as 2020, used underwear and socks. Ex. 9 at 361:11-362:12; Ex. 15 ¶ 136; Ex. 60 ¶ 5. Under

ICE standards                         , clothing and bedding must be exchanged and laundered twice

weekly, except for socks and underwear, which must be washed daily. Ex. 13 at 65; Ex. 111 at 21.



                                                                                   . See Ex. 116 at 2.



                Ex. 117 at 3 (

                                                                                     ).

        CoreCivic’s failure to provide hygiene supplies and clothing in sufficient quantities and of

minimally acceptable quality gives rise to the need to purchase from the commissary additional

and higher quality items that better serve their intended function, coercing detained people to work.

See Ex. 15 ¶¶ 132-33, 136, 140; Ex. 38 at 9; Ex. 107 at 11 (DHS OIG finding that SDC was not

providing basic hygiene supplies “promptly or at all when detainees ran out of them,” and that one

interviewee reported “when they used up their initial supply of certain personal care items, such

as toothpaste, they were advised to purchase more at the facility commissary”). Because CoreCivic

runs the commissary,

                                  . See generally Ex. 88; Ex. 89 at 5; Ex. 90 at 4; Ex. 91 at 4; Ex, 92

at 4; Ex. 93 at 4; Ex. 94 at 4.

        Phone Access. CoreCivic has a policy and practice of depriving detained people of access

to phone calls to their loved ones. Although CoreCivic provides detained people with access to

phones, the phone system is expensive and, at times during the class period, has been profit-

generating for CoreCivic. Because of SDC’s rural location and the limited visitation schedule,

detained people must rely on phone access to maintain social ties with loved ones, and the failure

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to maintain that bond can cause psychological distress. Ex. 18 ¶ 68; see Ex. 75 ¶ 22.

       Phone calls under the Securus contract were expensive.



                                                                  Ex. 28 at 2.




                                                                                                  Id.




                         Id. at 4.



CoreCivic has continued

offering phone time as an incentive or bonus to detained workers. See, e.g., Ex. 44 at 111:4-7.

       B. CoreCivic Punishes People for Refusing to Work or Engaging in a Work Stoppage

       CoreCivic has a policy and practice of using its disciplinary system to punish detained

people who refuse to work. The threat or actual imposition of punishment up to and including

segregation creates a coercive environment that compels detained people to work and causes

serious harm. See Ex. 14 ¶ 36.

       CoreCivic’s disciplinary policy is implemented uniformly across the facility. Ex. 5 at

267:7-13. The policy allows use of the disciplinary process to punish conduct perceived to be a

refusal to work. See Ex. 33; Ex. 119. All individuals detained at SDC are aware that disciplinary

action can result from failing to comply with any one of SDC’s many rules. At intake, CoreCivic

provides every detained person a handbook that immediately warns, “You will be held accountable

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for your actions while in custody at this facility. Therefore, it is each detainee’s responsibility to

become familiar with the contents of the handbook.” Ex. 38 at 2. Under “Basic Detainee

Responsibilities,” detained people are again reminded that “any [rule] violation may result in

sanctions imposed against you.” Id. at 4. The handbook includes a lengthy list of “prohibited acts,”

which are also posted in each dorm’s bulletin board, categorized into four offense categories: 1)

“greatest,” 2) “high,” 3) “high moderate,” and 4) “low moderate” Id. at 33-36; Ex. 60 ¶ 3. The

handbook also lists the possible sanctions that may be imposed in relation to each offense category,

ranging from warnings and loss of privileges to disciplinary segregation and initiation of criminal

proceedings. Ex. 38 at 33-36. The lists of “prohibited acts” and possible sanctions are taken from

ICE’s detention standards, but those standards do not define the terms used or require imposition

of any specific sanction for any specific offense—interpretation and decision-making are left to

CoreCivic. See Ex. 13 at 25-35. Every detained person is expected to review and understand the

handbook, and the facility rules are also communicated orally at intake and in regular daily

interactions. Ex. 5 at 254:12-25; Ex. 44 at 166:8-12; see Ex. 53 ¶¶ 3-4, 9; Ex. 75 ¶ 3.

       CoreCivic’s uniform discipline policy allows segregation as a possible ultimate

consequence for every disciplinary infraction. Ex. 38 at 34-36, 38. CoreCivic uses the uniform

policy to punish people who refuse to work with disciplinary sanctions, including segregation. For

example, CoreCivic punishes detained workers with segregation for undefined offenses such as

“encouraging others to participate in a work stoppage or to refuse to work” and “refusing to obey

a staff member/officer’s order.” Ex. 38 at 34; see, e.g., Ex. 15 ¶¶ 64-66 (



                         ); Ex. 68 at 148:18-149:8 (explaining that a “work stoppage” occurs when

even “one single person . . . stops working”); Ex. 7 at 235:24-236:25 (



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                                    ); Ex. 14 ¶ 43. The result is an overarching threat of segregation

for being perceived as stepping out of line. See, e.g., Ex. 21 at 192:7-10 (

                                                                                   ); Ex. 53 ¶ 9; Ex.

75 ¶ 6; Ex. 120 at 2; Ex. 20 at 238:14-19.

       CoreCivic staff understand that having detained people refuse to work could threaten daily

operations, and they use the disciplinary process accordingly. See, e.g., Ex. 121 at 2 (



                                                                                                ); Ex.

68 at 164:12-25.




          Ex. 37 at 2; Ex. 24 at 10; Ex. 23 at 9.



                                   Ex. 126. Trinity staff also take an active role in disciplinary

proceedings. See, e.g., Ex. 122 at 2-3; Ex. 123 at 2; Ex. 124 at 2; Ex. 125 at 2; Ex. 42 at 410:2-23;

Ex. 61 at 201:6-14.

       Ultimately, at SDC, segregation is freely threatened and used—and detained people

witness it being threatened and used—to punish behavior that is perceived to amount to a refusal

to work. See, e.g., Ex. 75 ¶¶ 34-36, 40-41, 43-44; Ex. 60 ¶¶ 7, 13, 28-31, 34-36; Ex. 53 ¶ 37; Ex.

21 at 214:3-7 (testifying that he thinks it is generally understood that “immediate segregation could

be a consequence of a walkout”); Ex. 127 at 2-3; Ex. 128 at 2-3; Ex. 129 at 2-3. Even being

suspected of engaging in prohibited acts can lead to placement in “administrative” segregation,

which does not differ in character from “disciplinary” segregation, giving CoreCivic the ability to

punish detained workers even if the charges are ultimately not sustained. Ex. 119 at 5-6; Ex. 6 at

                                                      18
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195:7-16; Ex. 20 at 226:23-227:4; Ex. 21 at 196:17-198:4; Ex. 14 ¶ 38. In short, SDC is a “coercive

environment, where the threat of psychological and psychiatric harm looms large for most

disciplinary actions, including refusal to work.” Ex. 14 ¶ 36.

       C. CoreCivic Revokes Housing Incentives for Those Who Refuse to Work

       CoreCivic has a policy and practice of revoking incentives, including private and safe

housing, when detained people refuse to work. The threat of losing these “incentives” ensures that

detained people stay in the Work Program.

       CoreCivic has a policy and practice of transferring or threatening to transfer detained

people who refuse to work to less favorable or safe housing. These housing transfers pose a risk

of serious harm. Ex. 14 ¶¶ 22, 55-60. At SDC, non-segregation, or general population, housing

units feature either celled housing or large open dormitories. Ex. 9 at 366:13-367:24, 368:20-

369:16; Ex. 130 at 2. The open dormitories can house over sixty people and are referred to as “the

chicken coop” by detained people because of how crowded and loud they are. Ex. 75 ¶ 8. In

contrast, the celled units (or “pods”) afford relatively more privacy; each cell houses two people

and has its own toilet and sink. Ex. 9 at 369:17-21. In addition, CoreCivic has housed detained

workers together in a housing unit with amenities not offered to the rest of the population, such as

access to video games or extra televisions in communal areas. Ex. 15 ¶¶ 86, 129; Ex. 21 at 72:9-

19; Ex. 73 at 2-3; Ex. 72. Housing in this unit is explicitly predicated on continued involvement in

the Work Program. Ex. 40 at 230:10-13; Ex. 68 at 83:10-84:3.

       CoreCivic’s prompt re-housing of detained people who no longer want to work, and threats

to do so, ensure that the threat of loss of private and safe housing looms large. See Ex. 9 at 387:24-

388:13; Ex.53 ¶ 14; Ex. 75 ¶ 11; Ex. 129 at 2-3; Ex. 72 at 3; Ex. 131 at 2. CoreCivic’s policy of

threatening punitive housing transfers for those who decline to work coerces purported class

members to stay in the Work Program and causes serious harm to putative class members.

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III.   CoreCivic’s Policies and Practices Compel Involvement in the Work Program by
       Means or Threats of Physical Restraint and Abuse of Legal Process

       A. Physical Restraint

       As described in Facts § II.B, CoreCivic has a policy and practice of physically restraining

or threatening to physically restrain detained people who refuse to work using segregation.

Conditions in SDC’s segregation unit mirror those in jails and prisons. Ex. 14 ¶ 24. It is beyond

credible dispute that placement in segregation is severely detrimental to a person’s wellbeing. Ex.

14 ¶¶ 24-35. “The explicit purpose of disciplinary segregation at SDC is to punish—in other words,

segregation is inflicted because it is punitive, painful, and causes suffering.” Ex. 14 ¶ 37; see also

Ex. 60 ¶¶ 35-36; Ex. 75 ¶ 35.




Ex. 21 at 188:16-189:2.

       CoreCivic also physically restrains individuals who participate in work stoppages with pod

or unit-wide lockdowns, and FSC personnel are made aware of such lockdowns. See, e.g., Ex. 75

¶¶ 37-39; Ex. 60 ¶ 33; Ex. 132 at 2-3; Ex. 133 at 2-3. During lockdowns, detained individuals are

not allowed to leave their bed, can only use the restroom with permission, are not given access to

recreation, and have no access to phones or commissary. Ex, 75 ¶¶ 37-39; Ex. 60 ¶ 33; Ex. 20 at

240:17-21, 243:2-16, 244:9-25.

       B. Abuse of Legal Process

       CoreCivic has a policy and practice of threatening detained people who refuse to work with

abuses of legal process. Under the SDC handbook, given to every detained person, criminal


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prosecution is a possible punishment for refusing to obey an officer or engaging in a work

stoppage. Ex. 38 at 34-35. At SDC, CoreCivic can, at its discretion, refer a matter to an “outside

prosecutor” and “outside law enforcement.” Ex. 68 at 144:23-145:10. As explained above, supra

at Facts § II.B., the handbook does not define these infractions, nor does it explain what types of

conduct would justify referral for criminal prosecution other than stating simply that either offense

could be prosecuted criminally. Ex. 38 at 34-35; see also Ex. 15 ¶¶ 64-66.

       Other CoreCivic policies and practices leverage the immigration status of people detained

at SDC to compel them to work. Every person detained at SDC wears a colored uniform, with the

color indicating their classification level. A person’s classification level, and thus uniform color,

can change when they are subject to institutional disciplinary action at SDC. Detained people at

SDC must wear their colored uniforms to proceedings before Immigration Judges. Ex. 15 ¶¶ 70-

71; Ex. 9 at 373:9-374:25. Thus, detained people facing the threat of disciplinary action for

refusing to work are also facing the threat of having to wear a uniform color indicating a higher

level of “dangerousness” in front of an Immigration Judge.

       Finally, the futures for people detained at SDC are dependent on the outcomes of their

immigration proceedings, and everyone at SDC—the detained people and the CoreCivic

employees who oversee them—knows this. See, e.g., Ex. 133 at 2-4; Ex. 134 at 2. CoreCivic

maintains a practice of telling detained people that refusing to work will impact their immigration

proceedings. Ex. 60 ¶ 29; Ex. 75 ¶ 42; see also Ex. 15 ¶ 56.

IV.    The Named Plaintiffs

       Mr. Hill Barrientos was detained at SDC intermittently between July 2015 and June 2018,

including at the time when the original Complaint in this action was filed. See ECF No. 1; Ex. 60

¶ 2. Mr. Hill Barrientos was a kitchen worker in the Work Program. Id. ¶¶ 20-21. Mr. Hill

Barrientos did not volunteer for the Work Program; he was told if he did not join, he would be put

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in segregation. Id. ¶ 7. He used his earnings to purchase necessities such as hygiene products,

underwear and socks, warm clothes, food, postage stamps, and phone cards. Id. ¶¶ 5, 23.

       Plaintiff Gonzalo Bermudez Gutiérrez was detained at SDC from May 2019 to January

2020. Ex. 53 ¶ 2. Mr. Bermudez Gutiérrez was a kitchen worker in the Work Program. Id. ¶¶ 26,

28. Mr. Bermudez Gutiérrez worked to buy food, hygiene products, stamps, and phone cards. Id.

¶¶ 20-21. He witnessed CoreCivic officers threaten to transfer detained workers who refused to

work to open dorms that did not have the incentives of the kitchen worker housing unit or to

segregation and to revoke commissary access. Id. ¶¶ 35-36.

       Plaintiff Keysler Ramón Urbina Rojas was detained at SDC between May 2015 and June

2016. Ex. 75 ¶ 2. Mr. Urbina Rojas was a kitchen worker in the Work Program. Id. ¶¶ 27-28. Mr.

Urbina Rojas witnessed CoreCivic staff send a detained worker to segregation for refusing to work

or perform a task. Id. ¶ 40. CoreCivic sent Mr. Urbina Rojas to segregation for allegedly refusing

to complete tasks that went beyond his usual work assignment. Id. ¶¶ 34-35. CoreCivic placed Mr.

Urbina Rojas’s housing unit on lockdown on several occasions when he and other detained

workers did not report to work, cutting off their phone access, requiring them to stay on their beds,

and threatening them with pepper spray. Id. ¶ 37. Mr. Urbina Rojas used his Work Program

earnings to buy food, hygiene items, and phone cards. Id. ¶¶ 14-15, 17, 20, 22-23, 45.

                                      LEGAL STANDARD

       “In addition to promoting the efficiency and economy of litigation, the class-action device

also provides a key to the courthouse for parties with legitimate claims whose access to justice

may be slammed shut because the individual amounts of their claims make it economically

infeasible to pursue them on an individual basis.” Upshaw v. Ga. (GA) Catalog Sales, Inc., 206

F.R.D. 694, 697 (M.D. Ga. 2002) (citing Deposit Guar. Nat'l Bank v. Roper, 445 U.S. 326, 339

(1980)). At least one named class representative must establish Article III standing to raise each

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class subclaim. Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000).

        Next, courts analyze if Federal Rule of Civil Procedure 23 is satisfied. First, under Rule

23(a) every putative class must satisfy numerosity, commonality, typicality, and adequacy of

representation. Baker v. State Farm Mut. Auto. Ins. Co., No. 4:19-cv-14-CDL, 2021 WL 4006124,

at *1 (M.D. Ga. Sept. 2, 2021), appeal filed, No. 21-14197 (11th Cir. Dec. 2, 2021). These

prerequisites “must be read liberally in the context of civil rights suits.” Groover v. Prisoner

Transp. Servs., LLC, No. 15-cv-61902, 2018 WL 6831119, at *8 (S.D. Fla. Dec. 26, 2018) (quoting

Jones v. Diamond, 519 F.2d 1090, 1099 (5th Cir. 1975), abrogated on other grounds by, Gardner

v. Westinghouse Broad. Co., 437 U.S. 478 (1978)).11

        After satisfying Rule 23(a), a proposed class must fall within one of the three categories

established in Rule 23(b). Here, Plaintiffs seek certification of the Proposed Classes under Rule

23(b)(2) and (3). Rule 23(b)(2) permits class certification where “the party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). Rule 23(b)(3) permits class certification where “the questions of law or fact common to

class members predominate over any questions affecting only individual members, and . . . a class

action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3); see Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.

455, 466, 468 (2013) (emphasizing that “the focus of Rule 23(b)(3) is on the predominance of

common questions” and that plaintiffs need not prove at the class certification stage “that the

predominating question will be answered in their favor”).



11
   In Bonner v. City of Prichard, 661 F.2d 1206, 1210 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all Fifth Circuit cases submitted or decided prior to October
1, 1981.
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       Finally, Rule 23(g) requires adequate class counsel. Adequacy is determined by

considering factors such as “the work counsel has done in identifying or investigating potential

claims in the action; counsel’s experience in handling class actions, other complex litigation, and

the types of claims asserted in the action; counsel’s knowledge of the applicable law; and the

resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv).

       District courts have “broad discretion” regarding class certification. Sacred Heart Health

Sys., Inc. v. Humana Mil. Healthcare Servs., Inc., 601 F.3d 1159, 1169 (11th Cir. 2010); Groover

v. Michelin N. Am., Inc., 187 F.R.D. 662, 664 (M.D. Ala. 1999). Courts may look beyond the

pleadings, analyzing the parties’ claims, defenses, and evidence, to determine whether class

certification is appropriate. See Babineau v. Fed. Express Corp., 576 F.3d 1183, 1190 (11th Cir.

2009); In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260, 271–72 (N.D. Ala. 2009). However,

“Rule 23 grants courts no license to engage in free-ranging merits inquiries at the certification

stage.” Amgen, 568 U.S. at 466. “Merits questions may be considered to the extent—but only to

the extent—that they are relevant to determining whether the Rule 23 prerequisites for class

certification are satisfied.” Id. Thus, “[a]n evaluation of the probable outcome on the merits is not

properly part of the certification decision.” Id. (citation omitted).

                                                ARGUMENT

       For the reasons set forth herein, Plaintiffs satisfy Rule 23’s standards for class certification.

The Court should exercise its broad discretion to certify the Forced Labor and Unjust Enrichment

Classes under Rule 23(b)(2) and (b)(3).

I.     The Requirements of Federal Rule of Civil Procedure 23(a) Are Satisfied

       A. The Class Representatives Have Standing

       Plaintiffs have standing to litigate both the TVPA and unjust enrichment claims and can

thus serve as class representatives in this matter. Standing is determined based on the situation at

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the time a complaint is filed. Focus on the Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

1275 (11th Cir. 2003); see also Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528

U.S. 167, 180–81 (2000) (listing Article III’s standing requirements: injury, traceability, and

redressability). Injunctive relief requires “a ‘real and immediate threat’ of future injury.” Focus on

the Fam., 344 F.3d at 1272.

       Plaintiffs Hill Barrientos, Bermudez Gutiérrez, and Urbina Rojas were detained at SDC

and labored in the Work Program. Ex. 75 ¶¶ 2, 20; Ex. 60 ¶¶ 2, 7; Ex. 53 ¶ 2, 17. During their

detention, Plaintiffs suffered an injury in fact—their labor was unlawfully forced by CoreCivic,

who unjustly benefited from it. This injury is more than “fairly traceable” to CoreCivic’s conduct,

as it occurred pursuant to CoreCivic policy and practice. Finally, Plaintiffs’ claim for relief will

provide them redress, as damages will compensate them for their injury. Thus, Plaintiffs have

standing to pursue their claims for damages.

       Plaintiff Hill Barrientos also has standing to pursue injunctive relief on behalf of the

Proposed Classes. He was detained and participating in the Work Program at the time the original

complaint was filed in April 2018. ECF No. 1 at 3. See Focus on the Fam., 344 F.3d at 1275.

Plaintiff Hill Barrientos has suffered an injury in fact that is fairly traceable to CoreCivic, and

injunctive and declaratory relief will address the “real and immediate threat” that CoreCivic’s

Work Program will continue to operate daily in violation of the TVPA and Georgia law.

       B. The Proposed Classes Are So Numerous that Joinder Would Be Impracticable

       The Proposed Classes are so “numerous that joinder of all members is impracticable.” Fed.

R. Civ. P. 23(a)(1). Numerosity is presumptively satisfied in this case where, based on payment

data provided by CoreCivic, there are over 32,000 individuals in the Forced Labor Class and nearly

13,800 in the Unjust Enrichment Class. Ex. 56 ¶¶ 75, 81. See Cox v. Am. Cast Iron Pipe Co., 784

F.2d 1546, 1553 (11th Cir. 1986) (noting that generally, “more than forty [is] adequate”). The

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Proposed Classes include individuals who are no longer detained at SDC and are dispersed

throughout the country (and internationally), making joinder more difficult. Kilgo v. Bowman

Transp., Inc., 789 F.2d 859, 878 (11th Cir. 1986). Given the Proposed Classes’ size and geographic

dispersion, joinder is impracticable, if not impossible, and Rule 23(a) numerosity is satisfied.

       C. Common Questions of Law and Fact Exist

       Rule 23(a)(2)’s commonality requirement is satisfied here, where there is “at least one issue

whose resolution will affect all or a significant number of the putative class members.” Williams

v. Mowhawk Indus., Inc., 568 F.3d 1350, 1355 (11th Cir. 2009) (quoting Stewart v. Winter, 669

F.2d 328, 335 (5th Cir. 1982)). Traditionally, the Rule asks whether the disputed questions are

capable of class-wide proof or resolution. Murray v. Auslander, 244 F.3d 807, 811 (11th Cir.

2001). Claims need not be identical to satisfy this requirement, and variations within the class are

permissible. Prado-Steinman, 221 F.3d at 1279 n.14. The threshold for satisfying the commonality

requirement is “not high.” Groover, 187 F.R.D. at 666 (citation omitted); In re Checking Acct.

Overdraft Litig., 286 F.R.D. 645, 652 (S.D. Fla. 2012) (citation omitted).

       The Forced Labor Class: The TVPA provides a private cause of action against anyone

who “knowingly . . . obtains the labor or services of a person,” or attempts to do so, “by any one

of, or by any combination of” the following:

               (1) by means of force, threats of force, physical restraint, or threats of
       physical restraint to that person or another person;
               (2) by means of serious harm or threats of serious harm to that person or
       another person;
               (3) by means of the abuse or threatened abuse of law or legal process; or
               (4) by means of any scheme, plan, or pattern intended to cause the person
       to believe that, if that person did not perform such labor or services, that person or
       another person would suffer serious harm or physical restraint.

18 U.S.C. § 1589(a); see 18 U.S.C. § 1594(a) (governing an attempt to violate § 1589); 18 U.S.C.

§ 1595(a) (creating private cause of action). CoreCivic may separately be liable for “knowingly


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benefit[ting], financially or by receiving anything of value, from participation in a venture” with

other entities, such as Trinity and Securus, “which has engaged in the providing or obtaining of

labor or services by any of the means described in [§ 1589(a)],” or attempting to do so, if CoreCivic

knew or recklessly disregarded the fact that such means were used. §§ 1589(b), 1594(a), 1595(a).

       Resolution of Plaintiffs’ claims alleging a violation of these TVPA provisions will turn on

questions of law or fact that are common to the class. Common questions include:

   1. Whether CoreCivic obtains and has obtained detained persons’ labor at SDC via force,
      threats of force, physical restraint, or threats of physical restraint;
   2. Whether CoreCivic obtains and has obtained detained persons’ labor at SDC via serious
      harm or threats of serious harm;
   3. Whether CoreCivic obtains and has obtained detained persons’ labor at SDC via abuse or
      threatened abuse of law or legal process;
   4. Whether CoreCivic obtains and has obtained detained persons’ labor at SDC via a scheme,
      plan, or pattern intended to cause the person to believe that, if he or she did not perform
      such labor or services, he or she would suffer serious harm or physical restraint;
   5. Whether CoreCivic obtains and has obtained detained persons’ labor at SDC through any
      combination of the unlawful means lists in § 1589(a)(1)-(4);
   6. Whether CoreCivic has knowingly benefitted, financially or otherwise, from participating
      in a venture, or attempting to participate in a venture, that CoreCivic knew or should have
      known forced detained people to work; and
   7. Whether CoreCivic has attempted to obtain detained persons’ labor at SDC through any of
      the unlawful means listed out in § 1589(a)(1)–(4) and § 1589(b).

       The Unjust Enrichment Class: To establish a claim of unjust enrichment under Georgia

law, Plaintiffs must show that “CoreCivic coerced them to provide labor to CoreCivic, that

CoreCivic benefitted from that labor, and that CoreCivic should compensate Plaintiffs . . . because

allowing CoreCivic to keep that benefit would be unjust.” Barrientos, 332 F. Supp. 3d at 1313.

Resolution of Plaintiffs’ claims alleging unjust enrichment will turn on questions of law or fact

that are common to the class. Common questions include:

   1. Whether CoreCivic has coerced class members to provide labor to CoreCivic;
   2. Whether CoreCivic has benefitted from that labor;
   3. Whether CoreCivic should compensate Plaintiffs and class members for the benefit
      conferred on CoreCivic, because CoreCivic retaining the benefit would be unjust;

       As discussed further in Argument § II, common evidence will provide a common answer

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to these and other questions relating to the TVPA and unjust enrichment claims. Resolution of any

of these common issues will serve as the “glue” uniting the Proposed Classes’ factual and legal

claims and will provide “a common answer to the crucial question[s]” of whether CoreCivic

unlawfully obtained class members’ labor in violation of the TVPA and whether CoreCivic has

been unjustly enriched by that labor. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 352-53

(2011), fulfilling Rule 23(a)’s commonality requirement. And, here, where Plaintiffs can point to

CoreCivic policies and practices that apply to all class members, “[c]ommonality is necessarily

established.” Owino v. CoreCivic, No. 21-55221, 2022 WL 1815825, at *5 (9th Cir. June 3, 2022).

       D. Plaintiffs’ Claims Are Typical of the Class Claims

       Plaintiffs’ claims are typical of the class claims because their claims and those of the

Proposed Class members “arise from the same event or pattern or practice and are based on the

same legal theory.” Ault v. Walt Disney World Co., 692 F.3d 1212, 1216 (11th Cir. 2012) (citation

omitted). Typicality “does not require identical claims or defenses.” Kornberg v. Carnival Cruise

Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). Rather, “typicality measures whether a sufficient

nexus exists between the claims of the named representatives and those of the class at large.”

Prado-Steiman, 221 F.3d at 1279. “[T]he threshold for typicality is low.” Gazzara v. Pulte Home

Corp., No. 6:16-CV-657-Orl-31TBS, 2016 WL 4529526, at *4 (M.D. Fla. Aug. 30, 2016).

       Plaintiffs and the Proposed Class members have suffered the same injury—CoreCivic has

unlawfully coerced or attempted to coerce their labor, for CoreCivic’s benefit. Plaintiffs were all

detained at SDC, where they were subjected to CoreCivic’s scheme of deprivation of basic

necessities. This deprivation forced them to enlist in the Work Program to earn meager wages to

purchase additional basic necessities and to receive non-wage benefits to satisfy their basic needs,

such as extra food and phone cards. See Novoa v. GEO Grp., Inc., No. EDCV 17-2514 JGB

(SHKx), 2019 WL 7195331, at *13 (C.D. Cal. Nov. 26, 2019) (“Plaintiffs allege a facility-wide

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custom of providing insufficient daily necessities. The Court therefore finds the typicality

requirement satisfied for each named Plaintiff.”). Plaintiffs remained in the Work Program under

threat or actual imposition of segregation and other punishments, and under threat of adverse legal

action. See Menocal v. GEO Grp., Inc., 882 F.3d 905, 917 (10th Cir. 2018); Menocal v. GEO Grp.,

Inc., 320 F.R.D. 258, 265 (D. Colo. 2017), aff’d, 882 F.3d 905 (10th Cir. 2018).

        Resolution of Plaintiffs’ claims depends on the resolution of the legality of CoreCivic’s

facility-wide conduct. Because these claims rest on the same legal theories as the claims of the

Proposed Classes, Plaintiffs satisfy Rule 23(a)’s typicality requirement.

        E. Plaintiffs Will Fairly and Adequately Protect the Interests of All Class Members

        Plaintiffs “will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

23(a)(4). Adequacy “encompasses two separate inquiries: (1) whether any substantial conflicts of

interest exist between the representatives and the class; and (2) whether the representatives will

adequately prosecute the action.” Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1323 (11th Cir.

2008) (quoting Valley Drug Co. v. Geneva Pharms., 350 F.3d 1181, 1189 (11th Cir. 2003)).

        There is no substantial conflict of interest between Plaintiffs and the Proposed Classes, all

of whom share an interest in compensation for their injuries on account of being forced to work

and in ensuring CoreCivic’s unlawful conduct ceases. Plaintiffs have a clear understanding of the

case and their role as representatives for Proposed Class members. Ex. 53 ¶ 38; Ex. 60 ¶¶ 37; Ex.

75 ¶ 46. And Plaintiffs are actively involved in the litigation; for example, they each personally

responded to CoreCivic's numerous discovery requests. Thus, Rule 23(a)’s adequacy requirement

is satisfied.

II.     Certification Is Proper under Federal Rule of Civil Procedure 23(b)(3)

        A damages class may be maintained if Rule 23(a)’s requirements are met and common

questions of law or fact predominate over questions affecting only individual members. Fed. R.

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Civ. P. 23(b)(3); In re Theragenics Corp. Sec. Litig., 205 F.R.D. 687, 697 (N.D. Ga. 2002) (citing

Cox, 784 F.2d at 1557) (explaining that only some, and not all, questions need be common under

Rule 23(b)(3)). Common issues predominate if they have “a direct impact on every class member’s

effort to establish liability that is more substantial than the impact of individualized issues in

resolving the claim or claims of each class member.” Sacred Heart Health Sys., 601 F.3d at 1170

(quoting Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1270 (11th Cir. 2009)). Furthermore, courts

are required to “assess predominance with its overarching purpose in mind—namely, ensuring that

‘a class action would achieve economies of time, effort, and expense, and promote . . . uniformity

of decision as to persons similarly situated, without sacrificing procedural fairness or bringing

about other undesirable results.’” Brown v. Electrolux Home Prods., Inc., 817 F.3d 1225, 1235

(11th Cir. 2016) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 615 (1997)).

       Here, common issues of law and fact predominate over individualized issues,12 and

common evidence will show that CoreCivic’s conduct was and is “substantially the same with

respect to all members of” the Proposed Classes. Upshaw, 206 F.R.D. at 700.

       A. Common Issues of Law and Fact Predominate Over Plaintiffs’ TVPA Claim

       CoreCivic is liable for violating the TVPA under multiple theories, see Argument § I.C,

each of which presents common issues of law and fact that predominate over any individualized



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   To the extent any individualized determinations may be needed to allocate damages to class
members, “individualized damages calculations are insufficient to foreclose the possibility of class
certification.” Carriulo v. Gen. Motors Co., 823 F.3d 977, 988 (11th Cir. 2016). Plaintiffs have
“come forward with plausible statistical or economic methodologies to demonstrate impact on a
class-wide basis,” and damages are easily amenable to calculation based on a formula, such that
any individual calculations pose “no impediment to class certification.” Klay v. Humana, Inc., 382
F.3d 1241, 1259-60 (11th Cir. 2004) (citation omitted); see generally Ex. 56 (explaining Plaintiffs’
damages methodology); see also, e.g., Lagasan v. Al-Ghasel, 92 F. Supp. 3d 445, 457 (E.D. Va.
2015) (awarding compensatory damages for TVPA claims equal to FLSA damages—unpaid
wages plus liquidated damages—because under 18 U.S.C. § 1593(a) victims are entitled to “at a
minimum, compensation for the value of [their] services as guaranteed under the FLSA”).
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inquiries, as set forth below. “[T]he[se] question[s are] appropriate for class-wide resolution

because either CoreCivic’s company-wide policies and practices violated the law and the rights of

the class members, or they didn’t.” Owino, 2022 WL 1815825, at *5 (citing Parsons v. Ryan, 754

F.3d 657, 678 (9th Cir. 2014)); see id. (holding that “whether CoreCivic utilized threats of

discipline to compel detainees to clean its California facilities in violation of state and federal

human trafficking statutes” is a “quintessential” common question).

         1.    Common Evidence Will Prove CoreCivic Violates, or Attempts to Violate,
               § 1589(a)(1)-(4)

       Common evidence will prove CoreCivic knowingly obtains, or attempts to obtain, class

members’ labor through physical restraint, serious harm, abuse of legal process, and threats

thereof, and/or through a scheme, pattern, or plan intended to cause class members to believe that,

if they did not perform such labor, they would suffer serious harm or physical restraint. 18 U.S.C.

§§ 1589(a)(1)–(4), 1594(a).

       Knowingly. Common evidence will show that CoreCivic knowingly obtained, or attempted

to obtain, class members’ forced labor. See United States v. Dann, 652 F.3d 1160, 1170 (9th Cir.

2011) (noting that “the linchpin” of the § 1589 analysis is the defendant’s intent). Throughout the

class periods, CoreCivic has uniformly offered access to basic necessities otherwise not provided

in adequate quantity and quality as a Work Program recruitment tool—referring to them as

“incentives”—demonstrating awareness that detained people at SDC work in order to obtain basic

necessities. Facts § II.A. CoreCivic also knows that detained workers primarily use their limited

wages to purchase food and other necessities in the SDC commissary. Facts § II.A. CoreCivic

ensures detained workers’ continued labor through uniform policies and practices—well-known

to and implemented by CoreCivic staff at all levels—leading to punishment and abuse of legal

process for refusing to work. Facts §§ I.B.-C, II.B-C, III.A-B.


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       Serious harm. Common evidence will show that CoreCivic has a uniform policy and

practice of obtaining, or attempting to obtain, class members’ labor through inflicting and

threatening serious harm for refusal to work. Facts. § II. That serious harm includes (a) deprivation

and threatened deprivation of basic necessities, Facts § II.A; Ex. 23; Ex. 24; Ex. 27; Ex. 101; Ex.

97; Ex. 38 at 9, 30; Ex. 88 at 3; (b) threat and infliction of punishment, including segregation,

Facts, § II.B; Ex. 38 at 2, 33-36, 38; Ex. 33; Ex. 119; and (c) transfers and threatened transfers out

of safe and private housing, Facts, § II.C; Ex. 130.

       Physical Restraint. Common evidence will show CoreCivic has a uniform policy and

practice of obtaining, or attempting to obtain, class members’ labor through use and threats of

physical restraint, in the form of segregation or lockdown of entire housing pods. Facts §§ II.B.,

III.A; Ex. 38 at 2, 33-36, 38; Ex. 33; Ex. 119.

       Abuse of Legal Process. Common evidence will show CoreCivic has a uniform policy and

practice of obtaining, or attempting to obtain, class members’ labor through actual and threatened

abuse of legal process, in the form of referral for criminal prosecution, increased classification

level, and threats of impacts to immigration proceedings. Facts § III.B; Ex. 38 at 9-10, 33-36; Ex.

33; Ex. 119.

       Scheme, Pattern, or Plan. Common evidence will show that CoreCivic obtained, or

attempted to obtain, class members’ labor through a scheme intended to cause them to believe that,

if they did not work, they would suffer serious harm or physical restraint.13 This scheme is

documented in CoreCivic’s various written policies, communicated to all detained people, which

result in deprivation of basic necessities and permitting punishment and physical restraint for

refusal to work. Facts §§ I.C-D, II. Detained people are subject to, and witness CoreCivic


13
  A “scheme, plan, or pattern” can be improper means without a determination of which specific
part of the scheme motivated the laborer. 18 U.S.C. § 1589; Menocal, 320 F.R.D. at 264 n.2.
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subjecting others to, these policies. Id. CoreCivic’s intent behind the scheme—to maximize profit

by minimizing costs through forced labor—is clear from its profit model and utter dependence on

the Work Program, as well as voluminous documentary evidence showing that CoreCivic knows

that both basic necessities and punishment, or threats thereof, will guarantee the captive work force

that CoreCivic needs to keep SDC operating and generating a substantial profit. Facts § I.

       Any Combination of Unlawful Means. The same common evidence described above will

show on a class-wide basis that CoreCivic obtained, or attempted to obtain, class members’ labor

through a combination of the unlawful means listed in 18 U.S.C. §§ 1589(a)(1)–(4).

       Causation and Attempt: An Objective Inquiry. Plaintiffs can show that CoreCivic’s

uniform policies and practices would have compelled a reasonable purported class member to

work, and amount to an attempt to compel their work, through common evidence such as:

           •   CoreCivic’s commissary purchase data and implementation of “incentive”
               programs showing that detained people worked in order to obtain basic necessities,
               Facts § II.A.;
           •   Plaintiffs’ testimony about why they enlisted and remained in the Work Program,
               Ex 60, Ex. 75, Ex. 53;
           •   Documentary evidence showing that Proposed Class members worked for the same
               reasons, Facts §§ II-III;
           •   Plaintiffs’ expert reports detailing the harmful and coercive nature of CoreCivic’s
               uniform policies and practices regarding deprivation, discipline, and housing, Facts
               §§ II.B, III.A; and
           •   Circumstantial evidence such as the sheer number of people who joined the Work
               Program, Argument § I.B.

       With regard to CoreCivic’s imposition and threats of serious harm, the TVPA calls for an

objective inquiry that turns on whether the harm threatened or imposed is “sufficiently serious,

under all the surrounding circumstances, to compel a reasonable person of the same background

and in the same circumstances” to work. 8 U.S.C. § 1589(c)(2). Such an inquiry is particularly

susceptible to class-wide proof. See Owino, 2022 WL 1815825, at *5; Nuñag-Tanedo v. E. Baton

Rouge Par. Sch. Bd., No. LA CV10-01172 JAK (MLGx), 2011 WL 7095434, at *7 (C.D. Cal.

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Dec. 12, 2011); McCullough v. City of Montgomery, No. 2:15-cv-463-RCL, 2020 WL 3803045,

at *8 (M.D. Ala. July 7, 2020); Dann, 652 F.3d at 1169–70. Courts addressing the TVPA’s “serious

harm” prong have found predominance where uniform policies are at issue and “the class members

share a large number of common attributes . . . allowing the fact-finder to use a common

‘reasonable person’ standard for all class members.” Owino v. CoreCivic, Inc., No. 17-CV-1112

JLS (NLS), 2020 WL 1550218, at *28 (S.D. Cal. Apr. 1, 2020), reconsideration denied, No. 17-

CV-1112 JLS (NLS), 2021 WL 120874 (S.D. Cal. Jan. 13, 2021), aff'd, No. 21-55221, 2022 WL

1815825 (9th Cir. June 3, 2022); see also Novoa v. GEO Grp., Inc., No. EDCV 17-2514 JGB

(SHKx), 2021 WL 4913286, at *5 (C.D. Cal. Sept. 30, 2021).

       Here, all the Proposed Class members are detained at SDC (or were at the time they were

subjected to forced labor at SDC). They are all noncitizens subject to immigration removal

proceedings and to “universal” policies and practices “under uniform conditions” at SDC,

Menocal, 320 F.R.D. at 266, the material aspects of which remained unchanged over the course of

the class periods. Facts, § I; see also Ex. 16 ¶¶ 6-19 (explaining the concept of “total institution”

as it applies to SDC). Given the similarities in purported class members’ backgrounds and

circumstances, the question whether a reasonable person in their position would feel compelled to

work when faced with serious harm and threats thereof may be resolved on a class-wide basis. See

Nuñag-Tanedo, 2011 WL 7095434, at *8; Menocal, 320 F.R.D. at 266.

         2.    Common Evidence Will Prove CoreCivic Knowingly Benefits from
               Participation in a Venture That Has Obtained Detained Workers’ Forced
               Labor

       Common evidence will show that CoreCivic knowingly benefits from participation in a

venture that has obtained putative class members’ labor through unlawful means. § 1589(b).

       Venture. Common evidence will show that CoreCivic participates in a venture with other

entities, namely Trinity and Securus, to deprive detained people of basic necessities and, in

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Trinity’s case, to punish people who refuse to work. Facts §§ I.A., II.A; Ex. 23; Ex. 24; Ex. 27.

CoreCivic and Trinity contract to provide food at the lowest cost and highest profit to each entity,

well-aware that the chronic deficiencies in the food served at SDC result in a hungry population.

CoreCivic and Trinity also work together to punish and threaten to punish detained people who

refused to work. Facts §§ I.A., II.A.1; Ex. 37.



                                                                     . Facts §§ I.A., II.A.4; Ex. 27.

       Knowing Benefit. Common evidence will demonstrate that CoreCivic knowingly benefits

from the venture. Common evidence shows that putative class members’ labor, obtained well

below market rates, enables SDC to satisfy the operational functions required by CoreCivic’s

contract with ICE—the only source of revenue for SDC other than the commissary

            . Facts §§ I.A., D. Common evidence also demonstrates that CoreCivic profits

enormously from the ICE contract. Facts § I.A. CoreCivic’s contract with Trinity further

establishes the venture’s benefit by requiring that CoreCivic provide detained kitchen workers and

setting an extremely low price per meal on the assumption that detained rather than employed

workers will be used, Facts §§ I.B, II.A.1. Finally, common evidence shows that CoreCivic makes

hundreds of thousands of dollars in profit from the sale of basic necessities to purported class

members at its commissary. Facts § II.A.

       Knowingly or in Reckless Disregard. As discussed above, common evidence will show

CoreCivic obtains class members’ labor through means violating §§ 1589(a)(1)–(4), either

knowingly or in reckless disregard. Argument § II.A. Such evidence includes: (i)

                                                                                                 (ii)

communications between facility staff and FSC about the use of segregation, lockdowns, and other

forms of discipline to address refusals to work, (iii)

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                                                        , (iv) failure to audit specifically whether the

Work Program is voluntary, (v) failure to ensure compliance with various ICE detention standards

requirements for the Work Program, (vi) indifference to a repetitive body of grievances from

detained people and OIG findings about the quality of the food at SDC, and (vii)



                                       Facts § II.A.

       Causation. As discussed above, Argument § II.A, causation is a common question that

may resolved on the basis of common evidence.

       B. Common Issues of Law and Fact Predominate Over Plaintiffs’ Unjust Enrichment
          Claim

       With respect to the Unjust Enrichment Class, common issues of law and fact predominate

over any individualized issues. As discussed above, common evidence will show that CoreCivic

knowingly benefits enormously from the Work Program at SDC. Facts §§ I.A., C; Argument

§ II.A. Common evidence will also show that CoreCivic’s retention of the benefit is unjust because

CoreCivic coerces detained people to work, through the means outlined above that are also

unlawful under the TVPA. Argument § II.A.

       C. Class Certification Is Superior to Other Methods of Adjudication

       Rule 23(b)(3)’s superiority analysis focuses on “the relative advantages of a class action

suit over whatever other forms of litigation might be realistically available to the plaintiffs.” Klay,

382 F.3d at 1269. Courts consider four non-exhaustive factors when assessing superiority:

       (A) the class members’ interests in individually controlling the prosecution or
       defense of separate actions;
       (B) the extent and nature of any litigation concerning the controversy already begun
       by or against class members;
       (C) the desirability or undesirability of concentrating the litigation of the claims in
       the particular forum; and
       (D) the likely difficulties in managing a class action.


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Fed. R. Civ. P. 23(b)(3).

       As to (A) and (B), Plaintiffs and their counsel are aware of no class members interested in

individually controlling separate actions regarding the issues at stake in this litigation. See Klay,

382 F.3d at 1269. Many putative class members fear retaliation or adverse immigration

consequences, making them less likely to pursue individual legal actions against CoreCivic. See

Facts § III.B. (discussing CoreCivic’s threatened abuse of the immigration legal process). And

many other class members likely reside in other countries, contributing to the unlikelihood of their

bringing individual actions against CoreCivic. See Silva–Arriaga v. Tex. Express, Inc., 222 F.R.D.

684, 691 (M.D. Fla. 2004); Menocal, 882 F.3d at 915; Novoa, 2019 WL 7195331, at *19.

       As to (C), litigating the class members’ claims individually “would be costly, inefficient,

and would burden the court system by forcing individual plaintiffs to repeatedly prove the same

facts and make the same legal arguments” about their experience in the Work Program. Klay, 382

F.3d at 1270. Further, the cost of litigating each individual’s claims would outweigh the potential

damages a single class member could recover. Id. at 1270-71; Amchem, 521 U.S. at 617. Judicial

economy also counsels in favor of continuing to concentrate this litigation in this Court because it

“has already handled several preliminary matters.” Klay, 382 F.3d at 1271

       As to (D), this action presents no manageability problems. See Klay, 382 F.3d at 1272. The

alternatives to a class action here are either no recourse for thousands of current and formerly

detained people or “a multiplicity of suits raising essentially the same claims.” Upshaw, 206 F.R.D.

at 702. For all these reasons, the superiority requirement is satisfied.

III.   The Proposed Classes Satisfy the Requirements for Certification under Rule 23(b)(2)

       Rule 23(b)(2) permits certification of a class seeking declaratory or injunctive relief where

“the party opposing the class has acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting the

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class as a whole.” Fed. R. Civ. P. 23(b)(2). “The term ‘generally applicable’ does not require ‘that

the party opposing the class . . . act directly against each member of the class.’” Anderson v.

Garner, 22 F. Supp. 2d 1379, 1386 (N.D. Ga. 1997) (citations omitted). Rather, when the “claims

rest[] on the same grounds and apply[] more or less equally to all members of the class,” Rule

23(b)(2) is satisfied. Holmes v. Cont’l Can Co., 706 F.2d 1144, 1155 (11th Cir. 1983).

       Lawsuits brought for injunctive relief alleging civil rights violations are precisely the type

of suit for which Rule 23(b)(2) was intended. See Amchem, 521 U.S. at 613-14; Harris v. Ga.

Dep’t of Corrs., No. 5:18-cv-00365-TES, 2021 WL 6197108, at *13 (M.D. Ga. Dec. 28, 2021).

Where “the problems of which [plaintiffs] complain and the remedies they seek are systemic,”

some courts “have gone so far as to say that the rule’s requirements are ‘almost automatically

satisfied in actions primarily seeking injunctive relief.’” Dunn v. Dunn, 318 F.R.D. 652, 667–68

(M.D. Ala. 2016) (quoting Baby Neal ex rel. Kanter v. Casey, 43 F.3d 48, 59 (3d Cir. 1994)),

modified sub nom. Braggs v. Dunn, No. 2:14cv601-MHT, 2020 WL 2395987 (M.D. Ala. May 12,

2020); see also Parsons, 754 F.3d at 689 (holding Rule 23(b)(2) was satisfied where department

of corrections policies and practices placed “every inmate in custody in peril” and all class

members sought essentially the same relief); Novoa, 2019 WL 7195331, at *19 (certifying a Rule

23(b)(2) class of people in immigration detention alleging the work program violates the TVPA ).

       This case satisfies Rule 23(b)(2), as the requested declaration and injunction “would

provide relief to each member of the class.” Dukes, 564 U.S. at 360. All putative class members

who are currently or will in the future be detained face the same harm—forced labor.14 An order


14
   Plaintiffs’ proposed class definitions seek certification of classes through “the date of final
judgment in this matter,” which Plaintiffs interpret to mean a final judgment terminating any
injunctive relief. However, if the Court finds that “final judgment” does not clearly include future
class members for purposes of injunctive relief, Plaintiffs request that the Court modify the


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declaring CoreCivic’s conduct unlawful and enjoining CoreCivic from compelling people detained

at SDC to work would remedy this ongoing harm. See Harris, 2021 WL 6197108, at *13

(certifying Rule 23(b)(2) class of incarcerated individuals because injunction of defendants’

unlawful policies and practices would resolve class-wide grievances). Because the putative class

members’ claims rest on the same polices and practices and can be resolved through the same

declaratory and injunctive relief, the requirements of Rule 23(b)(2) are met.

IV.    Counsel of Record Should Be Appointed as Class Counsel

       Plaintiffs are represented by experienced civil rights and class action litigators who will

adequately and skillfully represent the interests of the Proposed Classes. See Fed. R. Civ. P.

23(g)(1)(A) (enumerating the factors the court must consider in appointing class counsel). Counsel

of record have vigorously pursued the interests of the Proposed Classes for over four years,

including by propounding and responding to written discovery, preparing for and attending

seventeen depositions, and retaining four experts. As described in the attached Declaration of

Meredith B. Stewart, the attorneys of record in this case and their firms have successfully handled

complex class action litigation as well as litigated TVPA claims. They have uniquely relevant

experience representing people in immigration detention and bringing complex claims involving

prisons and immigration detention facilities. Many of the attorneys and the staff with whom they

work speak languages other than English, making it easier for them to communicate with many



proposed class definitions for purposes of certifying the classes under Fed. R. Civ. P. 23(b)(2) to
include, “All civil immigration detainees who performed work, or will perform work in the future,
for CoreCivic at Stewart in the ‘Voluntary Work Program.’” Such a modification is within the
Court’s discretion. Ault v. Walt Disney World Co., No. 6:07-cv-1785-Orl-31KRS, 2008 WL
11436773, at *2 (M.D. Fla. Dec. 12, 2008) (“District Courts are permitted to limit or modify class
definitions to provide necessary precision.”) (citing Powers v. Hamilton Cnty. Pub. Def. Comm’n,
501 F.3d 592, 619 (6th Cir. 2007); In re Monumental Life Ins., 365 F.3d 408, 414 (5th Cir. 2004)).
And such a modification will not expand the scope of Plaintiffs’ claims, as Plaintiffs have always
pleaded claims for injunctive relief. ECF No. 1 ¶¶ 93, 97, 102, Prayer for Relief; ECF No. 87 ¶¶
104, 108, 112-123, Prayer for Relief.
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members of the Proposed Classes. Furthermore, counsel have and will continue to dedicate

considerable means and staff to represent the interests of Plaintiffs and the Proposed Classes.

                                          CONCLUSION

       For the reasons stated herein, Plaintiffs respectfully request that the Court certify the

Forced Labor Class and Unjust Enrichment Class under Rules 23(b)(2) and 23(b)(3). Plaintiffs

further request that the Court designate them as class representatives, appoint the undersigned as

class counsel, and order that notice of this action be provided to the classes.

Dated: June 17, 2022                                  Respectfully Submitted:

/s/ Meredith B. Stewart___________________
Meredith B. Stewart*                                Alan B. Howard*
Rebecca M. Cassler (GA Bar No. 487886)              John T. Dixon*
SOUTHERN POVERTY LAW CENTER                         Emily B. Cooper*
201 Saint Charles Avenue, Suite 2000                PERKINS COIE LLP
New Orleans, LA 70170                               1155 Avenue of the Americas
Telephone: (504) 486-8982                           22nd Floor
Facsimile: (504) 486-8947                           New York, NY 10036-2711
meredith.stewart@splcenter.org                      Telephone: (212) 262-6900
rebecca.cassler@splcenter.org                       Facsimile: (212) 977-1649
                                                    AHoward@perkinscoie.com
Caitlin J. Sandley (GA Bar No. 610130)              JohnDixon@perkinscoie.com
Jaqueline Aranda Osorno*                            ECooper@perkinscoie.com
SOUTHERN POVERTY LAW CENTER
400 Washington Ave.                                 Jessica L. Everett-Garcia*
Montgomery, AL 36104                                John H. Gray*
Telephone: (334) 303-6822                           PERKINS COIE LLP
Facsimile: (334) 956-8481                           2901 N. Central Avenue, Suite 2000
cj.sandley@splcenter.org                            Phoenix, AZ 85012-2788
jackie.aranda@splcenter.org                         Telephone: (602) 351-8000
                                                    Facsimile: (602) 648-7000
Vidhi Bamzai*                                       jeverettgarcia@perkinscoie.com
SOUTHERN POVERTY LAW CENTER                         jhgray@perkinscoie.com
111 East Capitol St., Suite 280
Jackson, MS 39201                                   Jessica Tseng Hasen*
Telephone: (601) 948-8882                           PERKINS COIE LLP
Facsimile: (601) 948-8885                           1201 Third Avenue, Suite 4900
vidhi.bamzai@splcenter.org                          Seattle, WA 98101
                                                    Telephone: (206) 359-3293
Azadeh Shahshahani                                  Facsimile: (206) 359-9000
(GA Bar No. 509008)                                 jhasen@perkinscoie.com

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Priyanka Bhatt (GA Bar No. 307315)
PROJECT SOUTH                           Daniel H. Charest*
9 Gammon Avenue SE                      BURNS CHAREST LLP
Atlanta, GA 30315                       900 Jackson St., Suite 500
Telephone: (404) 622-0602               Dallas, TX 75202
Facsimile: (404) 622-4137               Telephone: (469) 904-4550
azadeh@projectsouth.org                 Facsimile: (469) 444-5002
priyanka@projectsouth.org               dcharest@burnscharest.com

*Admitted pro hac vice

Attorneys for Plaintiffs




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